Case 1:18-cv-11028-GAO Document 26-11 Filed 06/29/18 Page 1 of 7




        EXHIBIT K
Case 1:18-cv-11028-GAO Document 26-11 Filed 06/29/18 Page 2 of 7
Case 1:18-cv-11028-GAO Document 26-11 Filed 06/29/18 Page 3 of 7
Case 1:18-cv-11028-GAO Document 26-11 Filed 06/29/18 Page 4 of 7
Case 1:18-cv-11028-GAO Document 26-11 Filed 06/29/18 Page 5 of 7
Case 1:18-cv-11028-GAO Document 26-11 Filed 06/29/18 Page 6 of 7
Case 1:18-cv-11028-GAO Document 26-11 Filed 06/29/18 Page 7 of 7
